                          Case 6:23-cr-00330-MC Document 23 Filed 12/14/23 Page 1 of 1
                         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON
                               FTR RECORDING OR TRANSCRIPT DESIGNATION AND ORDER FORM

1. District Court Case No.: 6:23-cr-00330-MC                                      2. Short Case Title: State of Oregon v. Landis


3. Court of Appeals Case No.:                                                     4. Ƒ I do not intend to designate any portion of the
                                                                                  transcript and will notify all counsel of this intention.

5. NAME 3erson2UGHULQJ5HFRUGLQJ7UDQVFULSW                                     6. PHONE NUMBER                       7. DATE
   Michelle Holman Kerin                                                          503-954-2232                            12/14/2023

8. (0$,/ ADDRESS                           9. 0$,/,1*$''5(66                           10. &,7<                         10. STATE         11. ZIP
  michelle@angelilaw.com                     121 SW Morrison St, Ste 400                  Portland                           OR              97204
                                                         State of Oregon
12. ORDER FOR             侊3/$,17,))1$0(                            侊'()(1'$171$0(Samuel Troy Landis
‫܆‬$33($/                    ‫&܆‬5,0,1$/                     ‫&܆‬5,0,1$/-867,&($&7 &-$928&+(5$77$&+(' 
‫܆‬121$33($/                ‫&܆‬,9,/                         ‫܆‬,1)250$3$83(5,6 &-$928&+(5$77$&+('

Ƒ13. $8',2RECORDING 21/<REQUESTED: $YDLODEOHRQO\LI)75is LQGLFDWHGLQthe UHFRUG Specify the case
number, date, and time of the hearing.Financial arrangements must be made with the Clerk's Office before the recording
isprepared. Copy cost: $32 for each recording. If payment is authorized under the CJA, attach WKHCJA-24 voucher.

                                                PROCEEDING(S)                                                               DATE(S)            JUDGE




Ƒ1. 75$16&5,372)+($5,1*2575$16&5,372))755(&25',1*REQUESTED: &RQWDFWWKH&RXUW 5HSRUWHU via
e-mail using the address listed at ord.uscourts.gov RU by calling503-326-8190 if no reporter is named on the docket), and file this
fRUPLQWKHcase using CM/ECF. 6SHFLI\the case number, date, and time of the hearing. Financial arrangements must be made
ZLWK WKH&RXUW5HSRUWHUEHIRUHthe WUDQVFULSWLVSUHSDUHG ,ISD\PHQWLVDXWKRUL]HGXQGHUthe &-$DWWDFKWKH&-$voucher
                                                PROCEEDING(S)                                                               DATE(S)            JUDGE

     Oral Argument                                                                                                       12/12/2023          McShane

                                                                                                                 FORMAT REQUESTED
      TRANSCRIPT CATEGORY                   ORIGINAL          FIRST COPY          AD',7,21$/         (Each format is billed as a separate transcript copy.)
                                                               WRHDFKSDUW\        COPIES
                                                                                   WRVDPHSDUW\             PAPER                    (/(&7521,&
ORDINARY: 7REHGHOLYHUHG ZLWKLQ            400SHU        10SHUSDJH     7SHUSDJH         侊)XOO6L]H                   侊3')
GD\VDIWHUUHFHLSWRIDQRUGHU          SDJH                                                         侊&RQGHQVHG                   侊$6&,,
                                                                                                                                       侊䢢37;
14-DAY TRANSCRIPT 7REH                   .70SHU        1.00SHUSDJH     70SHUSDJH                                       侊3')
                                                                                                         侊)XOO6L]H
GHOLYHUHGZLWKLQFDOHQGDU days           SDJH                                                                                       侊$6&,,
DIWHUUHFHLSWRIDQRUGHU                                                                               侊&RQGHQVHG
                                                                                                                                       侊䢢37;
                                            53SHU        10SHUSDJH     7SHUSDJH                                       侊3')
EXPEDITED 7REHGHOLYHUHG                                                                              侊)XOO6L]H
ZLWKLQ GD\VDIWHU UHFHLSWRIDQ RUGHU   SDJH                                                                                       侊$6&,,
                                                                                                         侊&RQGHQVHG
                                                                                                                                       侊䢢37;
 3-DAY TRANSCRIPT: 7REH                                      20SHUSDJH     85SHUSDJH                                       侊3')
                                            6.00SHU                                                   侊)XOO6L]H
 GHOLYHUHG ZLWKLQ FDOHQGDU GD\V DIWHU     SDJH                                                                                       侊$6&,,
 UHFHLSWRIDQRUGHU                                                                                    侊&RQGHQVHG
                                                                                                                                       侊䢢37;
 DAILY: To be deOLYHUHGIROORZLQJ
 DGMRXUQPHQWDQGSULRUWRWKH QRUPDO       6.70SHU       1.35SHUSDJH      145SHUSDJH                                      侊3')
                                                                                                         侊)XOO6L]H
 RSHQLQJKRXURIFRXUWRQWKHIROORZLQJ    SDJH                                                                                       侊$6&,,
 PRUQLQJZKHWKHURU QRWLWLVD                                                                       侊&RQGHQVHG
 businessGD\                                                                                                                        侊䢢37;

HOURLY TR EH GHOLYHUHGZLWKLQ             800SHU        35SHUSDJH     145SHUSDJH                                      侊3')
                                                                                                         侊)XOO6L]H
 KRXUV DIWHUUHFHLSWRI WKHRUGHU        SDJH                                                                                       侊$6&,,
                                                                                                         侊&RQGHQVHG
                                                                                                                                       侊䢢37;
15. DISTRIBUTION: File this form electronically in the applicable case using CM/ECF. Notice will automatically be distributed
to all Parties.

5HYLVHG11/13/23
